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   August 6, 2018



   The Honorable Pamela K. Chen
   U.S. District Judge
   U.S. District Court for the Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Re:     United States v. Marin – Docket No. 15-cr-252 (PKC)

   Dear Judge Chen:

           We represent the Fédération Internationale de Football Association (“FIFA”) in connection
   with its request for restitution from Defendant José Maria Marin. We are filing this victim
   statement in accordance with the Court’s July 11, 2018 Order calling for victim submissions in
   connection with Marin’s sentencing to be filed by August 6, 2018.

           Marin, a former FIFA and Confederación Sudamericana de Fútbol (“CONMEBOL”)
   official, was convicted on December 14, 2017, of (1) conspiracy to commit racketeering,
   (2) conspiracy to commit wire fraud, and (3) conspiracy to commit money laundering, in
   connection with the corruption of international soccer. Marin grossly abused his positions of trust
   in the soccer community to enrich himself, while causing significant direct and proximate harm to
   FIFA and its members.1 FIFA has suffered considerable financial harm, including but not limited
   to losses for benefits paid to Marin during the period he was breaching his duties to FIFA, as well
   as investigative costs incurred by FIFA in connection with the U.S. government’s criminal
   investigation into Marin’s and his co-conspirators’ illegal actions.



   1
          The actions attributed to Marin and his co-conspirators in this victim statement are based
   upon (1) the Superseding Indictment filed in this case, United States v. Webb, et al., 15-cr-252,
   Dkt. No. 102 (E.D.N.Y. Nov. 25, 2015) (the “Superseding Indictment”); (2) the Second
   Superseding Indictment in this case, Dkt. No. 603 (June 14, 2017) (the “Second Superseding
   Indictment”); (3) the trial transcript in this case (the “Trial Transcript”); and (4) public media.

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           The damage done by Marin’s and his co-conspirators’ greed cannot be overstated. Their
   actions have impaired FIFA’s ability to use its resources for positive action throughout the world,
   and to meet its global mission of developing the game of soccer. As a victim of Marin’s and his
   co-conspirators’ crimes, FIFA is entitled to recover restitution under the Mandatory Restitution to
   Victims Act, 18 U.S.C. § 3663A et seq. (“MRVA”).2 We understand that to date, the U.S.
   government has ensured the forfeiture of more than $300 million in assets and identified,
   recovered, or frozen more than $100 million in the United States and abroad relating to the
   defendants’ felonious schemes.3 These funds should be used to compensate the victims of Marin’s
   crimes, including FIFA, so that actions can be taken to repair the damage that he has done to the
   international soccer community.

   I.     BACKGROUND

           During his career in international soccer, Marin held positions of trust and responsibility
   with a number of organizations, including:

              1) Vice President of the Confederação Brasileira de Futebol (“CBF”), a member
                 association of FIFA and CONMEBOL, from 2008 to March 2012;

              2) President of CBF from March 2012 to April 2015;

              3) Chairman of the 2014 FIFA World Cup Local Organizing Committee from 2012 to
                 2014; and

              4) Member of the FIFA Organizing Committee for the Olympic Soccer Tournaments.

          As Chairman of the 2014 FIFA World Cup Local Organizing Committee and a member of
   the FIFA Organizing Committee for the Olympic Soccer Tournaments, Marin owed a fiduciary
   duty to FIFA both (1) as a member of a FIFA committee, according to the FIFA Statutes and
   applicable FIFA rules and regulations, in particular the FIFA Code of Ethics,4 and (2) by virtue of
   Swiss statutory law governing his mandate agreement with FIFA.5 Furthermore, as President and

   2
           Funds seized from and forfeited in these actions should be used first to compensate victims,
   either as restitution under the MRVA or through remission or restoration under 28 C.F.R. Part 9.
   3
           See Press Release, Sixteen Additional FIFA Officials Indicted For Racketeering
   Conspiracy And Corruption, U.S. Dep’t of Justice (Dec. 3, 2015), available at
   https://www.justice.gov/usao-edny/pr/sixteen-additional-fifa-officials-indicted-racketeering-
   conspiracy-and-corruption.
   4
           See FIFA Statutes, General Provisions (2012) (FIFA officials defined as “every board
   member [and] committee member in FIFA, a Confederation, Association, League or club”); FIFA
   Statutes § 7.1 (2012) (“Officials must observe the . . . Code of Ethics of FIFA in their activities.”).
   5
          See, e.g., Swiss Code of Obligations Art. 398 para. 2 (2016) (mandating that agents in
   Switzerland owe their principal the faithful and diligent performance of the work entrusted to
   them).


                                                     2
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   Vice President of CBF at various times, Marin was subject to the FIFA Code of Ethics and thus
   owed a fiduciary duty to FIFA, the confederations, and the member associations.6

           Marin was one of 14 officials named in the U.S. criminal indictment unsealed on May 27,
   2015, and was arrested in Switzerland the same day.7 In the Second Superseding Indictment filed
   on June 14, 2017 in anticipation of Marin’s trial, Marin was charged with seven counts of
   (1) conspiracy to commit racketeering, (2) conspiracy to commit money laundering, and
   (3) conspiracy to commit wire fraud, all in connection with schemes to sell marketing and media
   rights to South American soccer tournaments.8

          Marin was convicted after trial of six of the seven counts, with the sole count of acquittal
   being one count of conspiracy to commit money laundering.9 At trial, the U.S. government
   presented overwhelming evidence, including voice recordings, witness testimony, and bank
   records, showing that Marin agreed to receive bribes and kickbacks in connection with the above-
   referenced tournaments in the amount of approximately $6.55 million.10

   II.    MARIN’S CONDUCT HARMED FIFA

            As the Second Superseding Indictment stated, Marin’s and his co-conspirators’ illegal
   schemes “deprived FIFA, the confederations, and their constituent organizations of their right to
   the honest and loyal services of the soccer officials involved.”11 The Second Superseding
   Indictment went on to note the significant harm that FIFA had suffered as a result of Marin’s and
   his co-conspirators’ actions, including by “limiting [FIFA’s] ability to operate effectively and carry
   out [its] core mission.”12 U.S. Attorney General Loretta Lynch also publicly recognized that FIFA
   suffered harm at the hands of Marin and his co-conspirators when she publicly noted that “this




   6
           See FIFA Code of Ethics § 15 (2012) (“Persons bound by this Code shall have a fiduciary
   duty to FIFA, the confederations, associations, leagues and clubs.”).
   7
           See Press Release, Nine FIFA Officials and Five Corporate Executives Indicted for
   Racketeering Conspiracy and Corruption, U.S. Dep’t of Justice (May 27, 2015), available at
   https://www.justice.gov/opa/pr/nine-fifa-officials-and-five-corporate-executives-indicted-
   racketeering-conspiracy-and.
   8
          See Second Superseding Indictment ¶¶ 121–135.
   9
          See Jury Verdict Sheet, Dkt. 873.
   10
           See Trial Transcript at 4302:4–14; see also Government Exs. 100, 623, 624, 1709-T, 1710-
   T; Trial Transcript at 232:20–233:2, 234:7–10, 354:11–358:6, 419:1–14 (testimony of Alejandro
   Burzaco).
   11
          Second Superseding Indictment ¶ 62 (emphasis added).
   12
          Id.


                                                     3
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   corruption essentially hurts . . . the organization [i.e., FIFA] itself.”13 Another DOJ official added
   that “certainly FIFA,” among others, “are victims in the case . . . . If there comes a point in time
   that victims such as those . . . can come before the court and apply for restitution, we’re certainly
   hopeful that those types of true victims . . . can get some of these forfeitures money that have been
   collected.”14

          A. Marin Obtained Benefits From FIFA Under False Pretenses and FIFA Should be
             Awarded Restitution in the Full Amount of Benefits It Paid to Marin

           As noted above, by virtue of his status as a FIFA official while a CBF executive and
   member of a FIFA committee, Marin owed a fiduciary duty to FIFA.15 At trial, the jury found that
   Marin knowingly and intentionally conspired to defraud FIFA when he accepted the illicit
   payments while he owed that fiduciary duty.16 Marin’s conduct was entirely at odds with what
   FIFA expects from its officials and violated numerous FIFA regulations, including the FIFA Code
   of Ethics, as well as applicable Swiss law.17

          The Preamble to the FIFA Code of Ethics makes clear that FIFA officials, broadly defined,
   are not mere employees or independent contractors. Rather, they are stewards of international
   soccer and charged with the ethical administration of the game. It states:

          The conduct of persons bound by this Code shall reflect the fact that they support
          the principles and objectives of FIFA, the confederations, associations, leagues
          and clubs in every way and refrain from anything that could be harmful to these
          aims and objectives. They shall respect the significance of their allegiance to FIFA,
          the confederations, associations, leagues and clubs, and represent them and behave
          towards them honestly, worthily, respectably and with integrity. They shall further
          respect the core value of fair play in every aspect of their functions.18

           The FIFA Code of Ethics also includes specific provisions governing the conduct of FIFA
   officials, namely that, “Persons bound by this Code shall show commitment to an ethical attitude.


   13
           Press Conference, Attorney General Lynch on FIFA Arrests, U.S. Dep’t of Justice (Dec. 3,
   2015), available at http://www.c-span.org/video/?401555-1/attorney-general-loretta-lynch-fifa-
   arrests&start=2835.
   14
          Id.
   15
          See supra n. 4.
   16
          See Second Superseding Indictment ¶¶ 127, 135; Jury Verdict Sheet, Dkt. 873.
   17
           See, e.g., FIFA Code of Ethics § 13.4 (2012) (“Persons bound by this Code shall . . . act
   with complete credibility and integrity.”); id. at § 13.5 (“Persons bound by this Code shall not
   abuse their position in any way, especially to take advantage of their position for private aims or
   gains.”).
   18
          FIFA Code of Ethics, Preamble (2012) (emphasis added).


                                                     4
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   They shall behave in a dignified manner and act with complete credibility and integrity.”19 Further,
   “Persons bound by this Code may not abuse their position in any way, especially to take advantage
   of their position for private aims or gains.”20

           Marin repeatedly and grossly violated specific provisions of the FIFA Code of Ethics.
   These include the relevant provisions on bribery and corruption, which state that FIFA officials
   must not “offer, promise, give or accept any personal or undue pecuniary or other advantage in
   order to obtain or retain business or any other improper advantage to or from anyone within or
   outside FIFA. Such acts are prohibited, regardless of whether carried out directly or indirectly
   through, or in conjunction with, intermediaries or related parties as defined in this Code.”21 The
   bribes that Marin took clearly and incontrovertibly violated these specific provisions.

           But Marin also violated the spirit and the general provisions of the FIFA Code of Ethics,
   which required him to conduct himself in an ethical and transparent manner in all issues related to
   international soccer. Rather than protect and promote the integrity of soccer, as was his duty,
   Marin’s conduct undermined it.

          By depriving FIFA of his honest services, Marin unfairly obtained money from FIFA in
   the form of daily per diems and travel expenses when attending FIFA events while he was
   supposed to be honestly conducting his FIFA responsibilities. Between April 2012 and December
   2014, Marin received $97,663.00 in benefits from FIFA, as described below in Figure 1.

                                  Figure 1: FIFA Payments to Marin
        Payment                                                                                  Amount of
                                           Reason for Payment
          Date                                                                                    Payment
                  Daily allowances for attendance at FIFA Organizing Committee for the FIFA
    4/5/2012                                                                                        $1,000.00
                  World Cup meeting in Zurich in March 2012
                  Airfare and daily allowances for attendance at FIFA Organizing Committee for
    10/4/2012                                                                                       $6,892.00
                  the FIFA World Cup meeting in Zurich in September 2012
                  Airfare and daily allowances for attendance at 2012 FIFA Club World Cup in
    12/21/2012                                                                                     $14,678.00
                  Japan in December 2012
                  Daily allowances for attendance at FIFA Organizing Committee for the FIFA
    3/21/2013                                                                                       $1,250.00
                  World Cup meeting in Zurich in March 2013
                  Airfare for attendance at FIFA Organizing Committee for the FIFA World Cup
    3/28/2013                                                                                       $6,645.00
                  meeting in Zurich in March 2013
    6/6/2013      Airfare for attendance at 2013 FIFA Congress in Mauritius in June 2013           $19,644.00



   19
           FIFA Code of Ethics § 13.3 (2012).
   20
           FIFA Code of Ethics § 13.4 (2012).
   21
          FIFA Code of Ethics § 21.1 (2012). At Marin’s trial, Ms. Maennl testified that the 2004,
   2006, and 2009 versions of the FIFA Code of Ethics also contained provisions (1) imposing a duty
   of loyalty on FIFA officials; and (2) prohibiting FIFA officials from accepting bribes or other
   undisclosed cash payments or gifts. See Trial Transcript at 149:25–153:19.


                                                        5
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                   Daily allowances for attendance at 2013 FIFA Confederations Cup in Brazil in
    6/20/2013                                                                                       $4,750.00
                   June and July 2013
                   Daily allowances for attendance at Final Draw for 2014 FIFA World Cup in
    12/12/2013                                                                                      $1,750.00
                   Brazil in December 2013
                   Airfare and daily allowances for attendance at FIFA Organizing Committee for
    3/20/2014                                                                                       $7,957.00
                   the FIFA World Cup meeting in Zurich in March 2014
                   Daily allowances for attendance at 2014 FIFA World Cup in Brazil in June and
    9/25/2014      July 2014; airfare and daily allowances for attendance at FIFA Organizing       $17,500.00
                   Committee for the FIFA World Cup meeting in Zurich in September 2014
                   Airfare and daily allowances for attendance at 2014 FIFA World Cup Board
    11/20/2014                                                                                      $7,746.00
                   Meeting in Zurich in November 2014
                   Airfare and daily allowances for attendance at 2014 FIFA Club World Cup in
    12/18/2014                                                                                      $7,851.00
                   Morocco in December 2014
                                                                                    TOTAL:        $97,663.00


           Marin was not entitled to those payments because he did not give FIFA the full value of
   his honest services in return. FIFA is therefore entitled to restitution for all benefits paid to Marin,
   even benefits that are not salaries. See, e.g., United States v. Donaghy, 570 F. Supp. 2d 411, 429
   (E.D.N.Y. 2008) (rejecting defendants’ argument that restitution should be limited to salary only
   and holding, “to the same extent that the NBA suffered loss in the form of salary payments for
   dishonest services, so too did it suffer loss when it paid Donaghy’s expenses for traveling to games
   at which he did not perform his services honestly”), aff’d sub nom. United States v. Battista, 575
   F.3d 226 (2d Cir. 2009); United States v. Fiorentino, 149 F. Supp. 3d 1352, 1360 (S.D. Fla. 2016)
   (rejecting defendants’ argument that restitution should only be awarded for defendants’ “base pay
   and benefits” and instead awarding restitution based on all benefits paid to defendants on theory
   that “Systemax paid all compensation on the understanding that Defendants would provide wholly
   honest services to the company”); see also United States v. Bahel, 662 F.3d 610, 649 (2d Cir. 2011)
   (affirming restitution order for part of convicted UN employee’s salary because “[t]here is no
   question that a portion of an individual’s salary can be subject to forfeiture where, as here, an
   employer pays for honest services but receives something less”); United States v. Skowron, 839 F.
   Supp. 2d 740, 745 (S.D.N.Y. 2012) (awarding an employer partial return of compensation paid to
   employee convicted of an insider trading scheme because the “offenses of conviction directly and
   proximately harmed [the employer] . . . . [The] crimes deprived [the employer] of the honest
   services of its employee, diverted valuable corporate time and energy in the defense of [the
   employee and the employer], and injured [the employer’s] reputation.”), aff’d, 529 F. App’x 71
   (2d Cir. 2013).

           Often, where the fraud victim is an employer seeking restitution for salary and benefits
   paid to a dishonest defendant, courts have held that the proper measure of restitution is “the
   difference in the value of the services that [the defendant rendered to the victim] and the value of
   the services that an honest [defendant] would have rendered.” Bahel, 662 F.3d at 650 (quoting
   United States v. Sapoznik, 161 F.3d 1117, 1121 (7th Cir. 1998)). However, numerous courts have
   recognized that such a calculation is complex, at best. See, e.g., Bahel, 662 F.3d at 649 (“Indeed,
   the district court explicitly noted that the record showed that ‘it would be unduly complex to try to
   delineate which part of the $876,000 [the amount Bahel earned in salary between 1999 and 2006,



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   the period covered by the fraud] was paid for honest services and which part was paid for the
   dishonest services.’”).

            Faced with this calculation, some courts have reasoned that, once the government has made
   the initial showing by a preponderance of the evidence that the victim is entitled to recover salary
   and benefits payments made to the defendant, the burden switches to the defendant to demonstrate
   the amount of legitimate services that he provided in order to offset the restitution amount. See
   United States v. Bryant, 655 F.3d 232, 254 (3d Cir. 2011).

           In Bryant, the defendant politician received a “low-show” job from a university as part of
   a corrupt arrangement with a University official, and the court determined that the university could
   recover the salary paid to the politician as restitution. See id. at 237. Though the court agreed that
   the politician should be able to “offset” the salary portion of the restitution award to the university
   by the amount of legitimate services he rendered, the court put the burden on the defendant to
   prove the value of those services. See id. at 254 (“Likewise, with respect to an offset for services
   rendered, we believe that, because [t]he restitution statute allocates the various burdens of proof
   among the parties who are best able to satisfy those burdens [,] ... the defendant should know the
   value of any [legitimate services] he has already provided to the victim[, and so] ... the burden
   should fall on him to argue for a reduction in his restitution order.” (internal quotation omitted)).

           When the defendant in that case could not prove the value of the legitimate services, the
   court awarded the university restitution in the amount of 100% of the salary and benefits paid to
   the politician. Id.; see also United States v. Crawley, 533 F.3d 349, 359 (5th Cir. 2008) (awarding
   victim employer restitution in the amount of 100% of the salary and benefits paid to the defendant
   because “the MRVA requires the defendant to return any ill-gotten property which has been
   acquired by, inter alia, fraud on the victim”).

           Here, Marin was a FIFA official for over eight years. Despite his obligations to FIFA and
   international soccer under FIFA regulations, including the FIFA Code of Ethics, and applicable
   Swiss statutory law, Marin participated in an unprecedented campaign of corruption, the exposure
   of which shook the sport to its core. In addition to the central offense of agreeing to accept over
   $6 million in bribes to improperly steer marketing and media rights contracts to favored
   companies, Marin (1) met with the sports marketing executive paying his bribes in order to
   complain about late payments and negotiate for more,22 and (2) schemed with Juan Ángel Napout,
   Marco Polo Del Nero, and other South American soccer officials to have Napout elected President
   of CONMEBOL, where Napout would be better able to direct the corrupt schemes.23

           In fact, Marin’s and his co-conspirators’ conduct, considered as a whole, compromised the
   entirety of FIFA’s mission to develop and promote international soccer in an ethical, transparent
   manner.24 Among the schemes that Marin and his co-conspirators were charged with and various

   22
          See Trial Transcript at 500:4–23.
   23
          See Trial Transcript at 536:2–13.
   24
          Defendants convicted of roles in conspiracies are liable in restitution for the full loss to the
   victims, including losses attributable to uncharged or unconvicted counts, and losses based on the


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   individuals pleaded guilty to were schemes involving all key aspects of FIFA’s administration,
   including: (1) the selection of the FIFA World CupTM host country25; (2) the sale of media rights
   to FIFA, confederation, and member association tournaments and matches26; (3) the election of
   the FIFA President27; and (4) the organization of international friendly matches.28 These functions
   comprise many of FIFA’s core responsibilities.

           In sum, Marin’s fundamental responsibility as a FIFA official was to act as a steward for
   the ethical development of soccer around the world. To say that Marin and his co-conspirators
   failed spectacularly is an understatement. Their actions compromised FIFA’s core functions, from
   the selection of a FIFA World CupTM host to the sale of media rights for international soccer
   tournaments to the election of the FIFA President. It is difficult to imagine more dishonest services
   that Marin could have rendered, and FIFA is entitled to restitution for those dishonest services.
   Marin should bear the burden of establishing the value of the honest services he provided, if any.

           FIFA respectfully submits that Marin cannot carry this burden and show any legitimate
   services, and therefore he should be ordered to provide restitution to FIFA in the amount of
   $97,663.00, or 100% of the benefits, per diems, and travel expenses FIFA paid to Marin during
   his period of misconduct.




   actions of co-conspirators. See, e.g., United States v. Hatfield, 2015 WL 13385926, at *4
   (E.D.N.Y. Mar. 27, 2015); see also United States v. Smith, 513 Fed. Appx. 43, 46 (2d Cir. 2013)
   (“Because [the defendant] was convicted of a conspiracy to commit access device fraud, the district
   court properly ordered restitution for all losses caused by [the defendant], as well as by the
   reasonable foreseeable actions of her coconspirators.”).
   25
          See Superseding Indictment at ¶¶ 216–230 (alleging scheme in which multiple of Marin’s
   co-conspirators agreed to receive bribes in order to change their votes for the 2010 FIFA World
   CupTM host country).
   26
          See, e.g., Superseding Indictment at ¶¶ 143–194, 202–215 (alleging numerous schemes
   involving Marin and his co-conspirators in which they accept bribes in connection with the sale of
   media rights to multiple international soccer tournaments, including the FIFA World CupTM,
   CONMEBOL Copa América, CONCACAF Gold Cup, CONMEBOL Copa Libertadores, and
   CBF Copa de Brasil).
   27
           See Superseding Indictment at ¶¶ 292–303 (alleging scheme in which at least one of
   Marin’s co-conspirators agreed to assist a candidate in the 2011 FIFA presidential election pay
   bribes to electors).
   28
          See Superseding Indictment at ¶ 138 (alleging scheme in which at least one of Marin’s co-
   conspirators agreed to pay bribes in connection with organization of the Salvadoran national
   team’s friendly matches in Washington, D.C. and Chile).


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           B. Marin and His Co-Conspirators Caused FIFA to Incur Significant Attorney Fees
              and Legal Costs

                   1.      FIFA Should be Awarded the Attorney Fees and Legal Costs it
                           Incurred in Investigating Marin’s and His Co-Conspirators’ Criminal
                           Conduct

            FIFA has incurred substantial costs investigating Marin’s and his co-conspirators’
   misconduct and assisting the U.S. government’s investigation and prosecution of it. And as a
   victim of Marin’s fraud, FIFA’s investigative costs in connection therewith are recoverable as
   restitution from Marin.

           The MRVA states that fraud victims like FIFA are entitled to restitution from the defendant
   for “expenses incurred during participation in the investigation or prosecution of the offense.”
   See 18 U.S. Code § 3663A(b)(4) (emphasis added). The Second Circuit has definitively concluded
   that the “expenses” referenced in the statute include attorney fees and legal costs incurred by the
   victim during an internal investigation of the defendant’s fraud, where the internal investigation is
   conducted at the government’s request or invitation alongside the government’s own criminal
   investigation. See, e.g., United States v. Amato, 540 F.3d 153, 159–60 (2d Cir. 2008) (under
   Section 3663A(b)(4), “‘other expenses’ incurred during the victim’s participation in the
   investigation or prosecution of the offense or attendance at proceedings related to the offense may
   include attorney fees and accounting costs”).

           Further, the Second Circuit has held that courts have significant discretion in awarding
   attorney fees as restitution, even where the scope of the victim’s investigation exceeded the precise
   limits of the government’s own investigation. See, e.g., United States v. Cuti, 778 F.3d 83, 93 (2d
   Cir. 2015) (“In Amato, we affirmed a restitution award of attorney’s fees and accounting costs
   incurred as a result of an internal investigation that uncovered fraud notwithstanding that not all
   of the effort and expense was requested by the government.” (internal quotation omitted)); United
   States v. Maynard, 743 F.3d 374, 381 (2d Cir. 2014) (“[T]he internal investigations paid for by the
   victims unmasked fraud and led to investigations conducted by the authorities. The expense of the
   internal investigations was necessary because the entity had interests to protect (the integrity of its
   ongoing operations and reputation, at the least) as well as a duty to protect those interests when
   faced with evidence, indicia, or a grounded suspicion of internal misconduct, and the investigation
   was a means calculated to achieve the protection of those interests.”).

           The Supreme Court recently considered the scope of the MRVA’s restitution provisions in
   instances where the victim conducts an internal investigation in response to the defendant’s fraud.
   In Lagos v. United States, GE Capital was the victim of defendant Lagos’s fraudulent scheme to
   secure a business line of credit. 138 S. Ct. 1684 (2018). When Lagos confessed the scheme to GE
   Capital, it revoked the line of credit and started an internal investigation. See id. at 1687. It wasn’t
   until some time later that Lagos and his co-conspirators were indicted by the U.S. government.
   See id. at 1690. In the meantime, GE Capital had incurred almost $5 million in attorney fees in
   connection with its internal investigation and a related bankruptcy proceeding involving Lagos’s
   company. See id. at 1685. At Lagos’ sentencing, GE Capital sought and was awarded restitution
   in the entire amount of its attorney fees (among other costs). See id.


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           Though it denied GE Capital’s request for restitution, the Supreme Court affirmed that
   attorney fees incurred by the victim in connection with a U.S. government investigation or criminal
   proceeding were recoverable, so long as the victim’s investigation was conducted during the
   pendency of the U.S. government’s investigation or prosecution. See id. at 1688, 1690. As such,
   Lagos confirms FIFA’s entitlement to restitution from Marin for the cost of its internal
   investigation. There can be no doubt that FIFA’s legal costs were incurred in connection with
   assisting a U.S. government investigation or criminal proceeding. Over 40 individuals and entities
   in international soccer have been indicted for their participation in the corrupt schemes, over 25
   have pleaded guilty or entered into deferred prosecution agreements, and two, including Marin,
   were found guilty at trial.

          Further, FIFA did not begin its investigation until May 27, 2015—the date the first U.S.
   criminal indictment was unsealed and numerous conspirators were arrested in Zurich, Switzerland.
   Indeed, there was no need for such investigation before the criminal indictment was unsealed, as
   FIFA did not receive advance notice of the indictment or the planned arrests. As such, all of the
   attorney fees FIFA requests restitution for were incurred during the pendency of the U.S.
   government’s investigation and prosecution.

           In sum, under both well-settled Second Circuit law and the Supreme Court’s recent Lagos
   decision, FIFA is entitled to restitution for the legal costs it incurred in investigating Marin’s and
   his co-conspirators’ conduct.

                  2.      FIFA Incurred Substantial Attorney Fees Attending Marin’s Trial
                          and Investigating His and His Co-Conspirators’ Conduct

           FIFA has incurred substantial attorney fees assisting the U.S. government’s wide-ranging
   investigation in the more than three years since the U.S. criminal indictment was unsealed on May
   27, 2015. During that time, FIFA has wholeheartedly cooperated with the U.S. government in
   numerous ways, including by investigating areas of interest to the U.S. government and sharing
   the results of its investigation. The scope of FIFA’s investigation has been enormous, as the
   defendants were charged with, and pleaded guilty to or were convicted for their involvement in, a
   multitude of unique schemes spanning decades and related to FIFA World CupTM hosting rights,
   FIFA World CupTM qualifying matches, confederation tournaments, friendly matches, and more.
   And as the U.S. government’s investigation continues, so too does FIFA’s cooperation.

           FIFA’s request for restitution of its attorney fees is comprised of two parts. First, FIFA
   was asked to prepare and produce a witness for the prosecution at the trial of Manuel Burga, Marin,
   and Napout.29 FIFA’s fees related to this witness’s testimony fall squarely within the MRVA and
   the Lagos decision, as the U.S. government requested that a FIFA witness testify at trial. FIFA
   also incurred reasonable fees by having one of its external lawyers attend the six-week long trial
   to closely monitor the proceedings. Marin should be held jointly and severally liable with his

   29
        Ms. Stephanie Maennl, Deputy Head of Corporate Legal for FIFA, was called on
   November 13, 2017 as the U.S. government’s first witness. See Trial Transcript at 97:1–158:19.


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   convicted co-defendant, Napout, for FIFA’s attorney fees in connection with the trial in the amount
   of CHF 125,030.33.30

           Second, FIFA conducted a comprehensive internal investigation into Marin’s and his co-
   conspirators’ conduct in response to the U.S. criminal indictment. These fees fit squarely within
   the text of the MRVA, Second Circuit precedent, and the Lagos decision, as FIFA’s investigation
   (1) began after the May 27, 2015 criminal indictment was filed—that is, “during” the U.S.
   government’s criminal investigation—and (2) was performed in consultation with the U.S.
   government and the results of the investigation were shared with the U.S. government.31

           Marin should be held jointly and severally responsible for FIFA’s attorney fees to conduct
   the investigation, comprised of (1) Quinn Emanuel attorneys to investigate the defendants’
   conduct, prepare written reports and transmit them to the U.S. government, and represent FIFA
   before the U.S. government; and (2) digital forensics consultants to collect, process, and host the
   data reviewed as part of the investigation.32

           First, after the U.S. criminal indictment was unsealed on May 27, 2015, Quinn Emanuel
   attorneys designed, implemented, and conducted a comprehensive internal investigation into
   Marin’s and his co-conspirators’ misconduct. The overwhelming majority of the investigation was
   spent reviewing schemes (1) explicitly alleged in the U.S. indictment, or (2) suggested to FIFA by
   the U.S. government as areas to investigate. FIFA therefore requests as restitution (1) Quinn
   Emanuel’s fees related to designing, implementing, and conducting the review, or
   CHF 16,586,493.74, as well as (2) Stroz Friedberg’s fees related to hosting and processing the
   reviewed data, or CHF 9,774,410.42.

          Second, FIFA prepared investigative reports based on its findings from the above-
   referenced investigation. These reports bore directly on schemes described in the U.S. criminal
   indictment, and were ultimately transmitted to the U.S. government. The fees for preparing the
   thousands of pages of reports and tens of thousands of pages of exhibits, and transmitting them to
   the Swiss and U.S. governments are CHF 1,716,262.63.

           FIFA respectfully requests that Marin be held jointly and severally liable for FIFA’s total
   investigative costs of CHF 28,077,166.79, along with the remaining defendants to be sentenced.
   Through their criminal schemes to pay or receive bribes, these individuals corrupted international

   30
           FIFA required its service providers to invoice it in Swiss Francs for the duration of the
   investigation.
   31
           See Press Release, FIFA completes internal investigation, shares findings with authorities,
   FIFA (Mar. 31, 2017) (“FIFA understands and has agreed that the reports will also be made
   available         to         the        U.S.          authorities.”),         available          at
   https://www.fifa.com/governance/news/y=2017/m=3/news=fifa-completes-internal-
   investigation-shares-findings-with-authorities-2878303.html.
   32
          FIFA is only requesting restitution for a portion of the legal fees it incurred since the U.S.
   criminal indictment was unsealed on May 27, 2015.


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   soccer. The revelation of these schemes in the U.S. criminal indictment led directly to FIFA’s
   investigation, and all are equally liable for the fees that FIFA incurred in conducting that
   investigation.

                                              *    *    *

           In conclusion, as a victim of José Maria Marin’s criminal conduct, FIFA respectfully
   requests restitution for the benefits Marin wrongfully induced FIFA to pay to him, as well as the
   legal fees FIFA incurred in investigating Marin’s and his co-conspirators’ illegal conduct. Further
   information and supporting documentation is available upon request, and we are available to
   discuss any of the above-raised issues. Restitution is appropriate and should be awarded for:

                  (a)    Benefits, travel expenses, and other compensation FIFA paid to Marin in
                         the amount of $97,663.00;

                  (b)    FIFA’s costs to participate in Marin’s trial at the U.S. government’s request,
                         totaling CHF 125,030.33, jointly and severally with Napout; and

                  (c)    FIFA’s legal fees incurred during its participation in the investigation and
                         prosecution of Marin’s and his co-conspirators’ crimes, totaling
                         CHF 28,077,166.79, jointly and severally with the remaining defendants to
                         be sentenced.


   Very truly yours,
   Quinn Emanuel Urquhart & Sullivan LLP




   William A. Burck
   Thomas Werlen
   Stephen M. Hauss

   Attorneys for Fédération Internationale de Football Association


   CC: All counsel of record (via ECF)




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